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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


POWER ANALYTICS CORPORATION,

                              Plaintiff,

                        v.
                                                                  C.A. No. 16-177-GMS
OPERATION TECHNOLOGY, INC.
d/b/a ETAP, OSISOFT, LLC, and
SCHNEIDER ELECTRIC USA, INC.,

                              Defendants.


SCHNEIDER ELECTRIC USA, INC.’S SECOND RULE 12(B)(6) MOTION TO DISMISS

       Defendant Schneider Electric USA, Inc. (“Schneider”) respectfully moves this Court,

pursuant to Federal Rule of Civil Procedure 12(b)(6), for an Order dismissing all of the First

Amended Complaint’s claims against Schneider, except those in Counts I-IV. The grounds for

this Motion are more fully set forth in the Opening Brief in support of this Motion, filed contem-

poraneously herewith.



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Dated: July 22, 2016
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                      IN THE UNITED STATES DISTRICT COURT
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POWER ANALYTICS CORPORATION,

                            Plaintiff,

                     v.
                                                             C.A. No. 16-177-GMS
OPERATION TECHNOLOGY, INC.
d/b/a ETAP, OSISOFT, LLC, and
SCHNEIDER ELECTRIC USA, INC.,

                            Defendants.


                                          ORDER

       IT IS HEREBY ORDERED, that Defendant Schneider Electric USA, Inc.’s Motion to

Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) in the above-captioned action is

GRANTED. The First Amended Complaint’s claims against Defendant Schneider Electric USA,

Inc., except those in Counts I-IV, are HEREBY DISMISSED WITH PREJUDICE.


       SO ORDERED this _____ day of _________________, 2016.


                                                         ______________________________
                                                         Gregory M. Sleet, J.
